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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RANDY R. LIEBICH,                            )
                                             )
                      Plaintiff,             )
                                             )
        vs.                                  )       Case No. 19-cv-242
                                             )
ILLINOIS DEPARTMENT OF                       )       Hon. Judge Thomas M. Durkin
CORRECTIONS, et al.,                         )       Hon. Magistrate Judge Sunil R. Harjani
                                             )
                      Defendants.            )

                                   STIPULATION TO DISMISS

        NOW COMES the Plaintiff, Randy R. Liebich, by and through his attorneys, Loevy &

Loevy, and the Defendants, Charles Best, Tyneer Butler-Winters, Joshua Clements, Darren

Davenport, Rob Jeffreys, Elizabeth Johnson, Byron Mitchell, Walter Nicholson, Ethan Olson,

Victor Perez, Randy Pfister, Elizabeth Rivera, William Shevlin, Joel Starkey, James Wilcock,

and the Illinois Department of Corrections, by and through their attorney, Kwame Raoul,

Attorney General for the State of Illinois, and hereby stipulate to the dismissal of this case. The

Plaintiff and the Defendants agree as follows:

        1.      This lawsuit shall be dismissed without prejudice, and said dismissal shall

automatically convert to a dismissal with prejudice and without leave to reinstate upon payment

of the amount payable under the parties’ Settlement Agreement.




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        2.      Each party shall bear its own attorney’s fees, costs, and expenses.

AGREED:



_s/ Alison R. Leff_____________________               Date: __10/25/19________________
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_s. Alan Williams_____________________ Date: __10/25_/19________________
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